                            UNITED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                   CHARLOTTE DIVISION


UNITED STATES OF AMERICA

      V.                                           CASE NUMBER: 3:11cr408-FDW

CHRISTOPHER HAMMOND


      THIS MATTER is before the Court on motion, filed 8/251/15, for an oral argument

hearing.



      NOW, THEREFORE, IT IS ORDERED that:

      The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

      transport and produce the body of CHRISTOPHER HAMMOND (USM#                  27259-058), for

      oral argument hearing before the honorable Frank D. Whitney,        in the Western District of

      North Carolina, Charlotte, North Carolina not later than September 17, 2015. Upon

      completion of the oral argument hearing, Defendant is to be returned to the custody of the

      Bureau of Prisons.



      The Clerk is directed to certify copies of this Order to the United States Attorney,

      Defendant’s Counsel, the United States Marshal Service, and the United States Probation

      Office.

      IT IS SO ORDERED.

                                   Signed: August 27, 2015




     Case 3:11-cr-00408-FDW-DSC            Document 249       Filed 08/27/15     Page 1 of 1
